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   1 SARAH E. JOHNSTON (SBN 259504)
      SJohnston@yukelaw.com
   2 YUKEVICH | CAVANAUGH
     355 S. Grand Avenue, 15th Floor
   3 Los Angeles, CA 90071-1560
     Telephone: (213) 362-7777
   4 Facsimile: (213) 362-7788
   5 CRAIG L. WEINSTOCK (Pro hac vice)
      CWeinstock@lockelord.com
   6 NATHAN DUNN (Pro hac vice)
      NDunn@lockelord.com
   7 LOCKE LORD LLP
     2800 JPMorgan Chase Tower
   8 600 Travis
     Houston, TX 77002
   9 Telephone: (713) 226-1200
  10 Attorneys for Plaintiff
     COOPER LIGHTING, LLC
  11
     THOMAS I. ROZSA (SBN 80615)
  12  Tom@rozsalaw.com
     ROZSA LAW GROUP LC
  13 18757 Burbank Blvd., Suite 220
     Tarzana, CA 91356-3346
  14 Telephone: (818) 783-0990
     Facsimile: (818) 783-0992
  15
     Attorneys for Defendant
  16 ELITE LIGHTING
  17
                                      UNITED STATES DISTRICT COURT
  18
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  19
       COOPER LIGHTING, LLC,                            CASE NO. CV 12-00523 SJO (MRWx)
  20
                             Plaintiffs,                STIPULATION TO DISMISS
  21
                 vs.                                    Filed concurrently with (Proposed)
  22                                                    Order
       ELITE LIGHTING,
  23                                                    Assigned to Hon. S. James Otero
                             Defendant.
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       1113616.1 / 112-009
                                                       1                     CV 12-00523 SJO (MRWx)
                                             STIPULATION TO DISMISS
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                                                                                                                                                                           ELITE LIGHTING, a California
                                                                                                                                                                         2 corporation,
                                                                                                                                                                         3                         Counterclaimant,
                                                                                                                                                                         4             vs.
                                                                                                                                                                         5 COOPER LIGHTING, LLC, a
                                                                                                                                                                           Delaware limited liability company;
                                                                                                                                                                         6 COOPER LIGHTING, INC., a
                                                                                                                                                                           Delaware Corporation; and ROES 1-10,
                                                                                                                                                                         7 inclusive,
Y UK E V IC H C A L FO & C A V AN AU G H




                                                                                                                                                                         8                         Cross-Defendant.
                                                                             Los Angeles, California 90071-1560
                                           355 S. Grand Avenue, 15th Floor




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                                                                                                                  Telephone (213) 362-7777
                                                                                                                                             Facsimile (213) 362-7788




                                                                                                                                                                                       IT IS HEREBY STIPULATED BY AND BETWEEN THE UNDERSIGNED
                                                                                                                                                                        10
                                                                                                                                                                             PARTIES, THROUGH THEIR ATTORNEYS OF RECORD, THAT:
                                                                                                                                                                        11
                                                                                                                                                                                             1. Pursuant to Fed. R. Civ. P. 41(a) and according to the terms of the
                                                                                                                                                                        12
                                                                                                                                                                                                   settlement agreement entered into among Plaintiff Cooper Lighting
                                                                                                                                                                        13
                                                                                                                                                                                                   LLC and Defendant Elite Lighting (collectively “the Parties”), this
                                                                                                                                                                        14
                                                                                                                                                                                                   matter, including the current claims and counterclaims between the
                                                                                                                                                                        15
                                                                                                                                                                                                   Parties, shall be and hereby is dismissed with prejudice;
                                                                                                                                                                        16
                                                                                                                                                                                             2. The United States District Court, Central District of California shall
                                                                                                                                                                        17
                                                                                                                                                                                                   maintain exclusive jurisdiction for purposes of enforcing the settlement
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                                                                                                                                                                                                   agreement between the Parties.
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                                                                                                                                                                         1             IT IS SO STIPULATED.
                                                                                                                                                                         2 Respectfully submitted,
                                                                                                                                                                         3
                                                                                                                                                                             DATED: March 27, 2013
                                                                                                                                                                         4
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                                                                                                                                                                                                                  By: /s/ Sarah E. Johnston
                                                                                                                                                                         6                                            Sarah E. Johnston
                                                                                                                                                                                                                      YUKEVICH | CAVANAUGH
                                                                                                                                                                         7
Y UK E V IC H C A L FO & C A V AN AU G H




                                                                                                                                                                         8                                            Craig L. Weinstock
                                                                             Los Angeles, California 90071-1560
                                           355 S. Grand Avenue, 15th Floor




                                                                                                                                                                         9                                            Nathan Dunn
                                                                                                                  Telephone (213) 362-7777
                                                                                                                                             Facsimile (213) 362-7788




                                                                                                                                                                                                                      LOCKE LORD LLP
                                                                                                                                                                        10
                                                                                                                                                                        11                                            Attorneys for Plaintiff
                                                                                                                                                                                                                      COOPER LIGHTING, LLC
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                                                                                                                                                                             DATED: March 27, 2013
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                                                                                                                                                                                                                  By: /s/ Thomas I. Rozsa
                                                                                                                                                                        16                                            Thomas I. Rozsa
                                                                                                                                                                        17                                            ROZSA LAW GROUP LC

                                                                                                                                                                        18                                            Attorneys for Defendant
                                                                                                                                                                        19                                            ELITE LIGHTING

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                                                                                                                                                                         1                                PROOF OF SERVICE
                                                                                                                                                                         2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                                                                         3        At the time of service, I was over 18 years of age and not a party to this
                                                                                                                                                                           action. I am employed in the County of Los Angeles, State of California. My
                                                                                                                                                                         4 business address is 355 South Grand Avenue, Fifteenth Floor, Los Angeles, CA
                                                                                                                                                                           90071-1560.
                                                                                                                                                                         5
                                                                                                                                                                                  On March 28, 2013, I served true copies of the following document(s)
                                                                                                                                                                         6 described as STIPULATION TO DISMISS on the interested parties in this action
                                                                                                                                                                           as follows:
                                                                                                                                                                         7
Y UK E V IC H C A L FO & C A V AN AU G H




                                                                                                                                                                           Thomas I. Rozsa, Esq.                        Attorney for Defendant and
                                                                                                                                                                         8 ROZSA LAW GROUP LC                           Counterclaimant Elite Lighting
                                                                             Los Angeles, California 90071-1560
                                           355 S. Grand Avenue, 15th Floor




                                                                                                                                                                           18757 Burbank Blvd., Suite 220
                                                                                                                                                                         9 Tarzana, CA 91356-3346                       T: (818) 783-0990
                                                                                                                  Telephone (213) 362-7777
                                                                                                                                             Facsimile (213) 362-7788




                                                                                                                                                                                                                        F: (818) 783-0992
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                                                                                                                                                                           BY CM/ECF for parties that are CM/ECF participants. Service is being made
                                                                                                                                                                        11 electronically on those parties on the attached list that are registered users of the
                                                                                                                                                                           Court’s Electronic Case Filing System.
                                                                                                                                                                        12
                                                                                                                                                                                  I declare under penalty of perjury under the laws of the United States of
                                                                                                                                                                        13 America that the foregoing is true and correct and that I am employed in the office
                                                                                                                                                                           of a member of the bar of this Court at whose direction the service was made.
                                                                                                                                                                        14
                                                                                                                                                                                  Executed on March 28, 2013, at Los Angeles, California.
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                                                                                                                                                                        16
                                                                                                                                                                                                                      /s/ Herme A. Britton
                                                                                                                                                                        17                                            Herme A. Britton
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